                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA


 UNITED STATES OF AMERICA,                         )
                                                   )
 v.                                                )           1:09-CR-123-18
                                                   )           Collier / Lee
 CHRISTOPHER J. PIERCE,                            )
                                                   )
        Defendant.                                 )

                                               ORDER

        Before the Court is the motion of Defendant Christopher J. Pierce (“Defendant”) to marry

 while in federal custody [Doc. 456]. A prisoner’s freedom to marry is constitutionally protected,

 but an institution where a prisoner is incarcerated may in some circumstances deny the prisoner’s

 request to marry. See Turner v. Safley, 482 U.S. 78, 89, 94-96 (1987). A penal institution’s refusal

 to grant a prisoner permission to marry must be “‘reasonably related to legitimate penological

 interests.’” Toms v. Taft, 338 F.3d 519, 525 (6th Cir. 2003) (quoting Turner, 482 U.S. at 89); United

 States v. Norris, 2007 WL 4335459, at *2 (N.D. Ind. 2007). Where the prisoner’s freedom to marry

 is conditioned on court approval, the court may not impose a burden on her freedom that would not

 be constitutionally permissible if imposed directly by the detention facility itself. See Norris, 2007

 WL 4335459, at *2. The Government has not objected to Defendant’s motion on penological

 grounds, or any other grounds, for that matter,1 and the Court is not aware of any legal reason for

 prohibiting the marriage. To the extent that the facility requires the Court’s permission, permission

 is therefore GRANTED.

        Defendant, through his friends and relatives, will be responsible for making any and all


        1
         The response date for the Government’s objection--in this context, a deadline to “speak
 now or forever hold its peace”--passed on August 16, 2010. See Local Rule 7.1.


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 arrangements regarding the marriage and for any and all costs associated with those arrangements,

 including any extra costs to the facility where Defendant is housed. Any and all arrangements

 Defendant makes must comply with any rules and/or guidelines established by the United States

 Marshals Service and/or the penal facility where Defendants resides. Nothing in this Order is

 intended to indicate that Defendant should be removed from his place of incarceration or provided

 any other special treatment or privileges.

        SO ORDERED.

        ENTER:

                                              s/Susan K. Lee
                                              SUSAN K. LEE
                                              UNITED STATES MAGISTRATE JUDGE




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